                                                                                Case 4:04-cv-04608-CW Document 29 Filed 09/19/05 Page 1 of 2



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                                                                                                 IN THE UNITED STATES DISTRICT COURT
                                                                         5
                                                                         6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         7
                                                                         8    SIMPSON STRONG-TIE COMPANY, INC., a               No.04-04608 CW
                                                                              California corporation,
                                                                         9                                                      ORDER ADOPTING
                                                                                          Plaintiff,                            MAGISTRATE JUDGE'S
                                                                         10                                                     REPORT AND
                                                                                 v.                                             RECOMMENDATION RE:
                                                                         11                                                     PLAINTIFF’S MOTION
United States District Court




                                                                              TODD ERSEY, an individual dba                     FOR DEFAULT
                                                                         12   ESREY.COM,                                        JUDGMENT
                               For the Northern District of California




                                                                         13               Defendant.
                                                                                                                   /
                                                                         14
                                                                         15
                                                                         16        The Court has reviewed Magistrate Judge Bernard Zimmerman's
                                                                         17   Report and Recommendation Re: Plaintiff’s Motion for Default
                                                                         18   Judgment.   No objections to the report were filed.        The Court finds
                                                                         19   the Report correct, well-reasoned and thorough, and adopts it in
                                                                         20   every respect.    Accordingly,
                                                                         21        IT IS HEREBY ORDERED that Plaintiff’s Motion for Default
                                                                         22   Judgment is GRANTED.     The Clerk shall enter judgment.
                                                                         23   Dated: 9/19/05
                                                                         24
                                                                         25
                                                                                                                       CLAUDIA WILKEN
                                                                         26                                            United States District Judge
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                                                                                Case 4:04-cv-04608-CW Document 29 Filed 09/19/05 Page 2 of 2



                                                                         1                                 UNITED STATES DISTRICT COURT
                                                                         2                                                FOR THE
                                                                         3                                NORTHERN DISTRICT OF CALIFORNIA
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                                                                              Simpson Strong-Tie Company Inc,                       Case Number: CV04-04608 CW
                                                                         6
                                                                                             Plaintiff,                             CERTIFICATE OF SERVICE
                                                                         7
                                                                                v.
                                                                         8
                                                                              Esrey et al,
                                                                         9
                                                                                             Defendant.
                                                                         10                                               /

                                                                         11
United States District Court




                                                                              I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S. District
                                                                         12   Court, Northern District of California.
                               For the Northern District of California




                                                                         13   That on 9/19/05        , I SERVED a true and correct copy(ies) of the attached, by placing said
                                                                              copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by depositing
                                                                         14   said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery
                                                                              receptacle located in the Clerk's office.
                                                                         15
                                                                         16   Arthur J. Shartsis
                                                                              James P. Martin
                                                                         17   Richard F. Munzinger
                                                                              Tracy L. Salisbury
                                                                         18   Shartsis Friese LLP
                                                                              One Maritime Plaza, 18th Floor
                                                                         19   San Francisco, CA 94111
                                                                         20   Mr. Todd Esrey
                                                                              595 Brennan Street
                                                                         21   San Jose, CA 95103
                                                                         22
                                                                         23   Dated: 9/19/05
                                                                                                                              Richard W. Wieking, Clerk
                                                                         24                                                   By: Sheilah Cahill, Deputy Clerk
                                                                         25
                                                                         26
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